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Exhibit 4

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re:

Norte! Networks Inc., et ai.,’

Chapter 11
Case No. 09-10138 (KG)
Jointly Administered

Debtors. Objection Deadline: September 20, 2010 4:00 pm

Hearing Date:

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AFFIRMATION
GILES BOOTHMAN respectfully states and affirms:

1. I am a member of the firm of Ashurst LLP (“Ashurst”), which firm maintains

offices for the practice of law at Broadwalk House, 5 Appold Street, London, EC2A 2HA.
Ashurst has acted as acted as European counsel to and has rendered professional services
on behalf of the Official Committee of Unsecured Creditors (the “Committee”) of Nortel
Networks Inc., et al. (the “Debtors”).

2. This affirmation is submitted pursuant to Bankruptcy Rule 2016(a) in support of
Ashurst's application for an interim allowance of £57,207.00 of fees and £179.15 for
reimbursement of expenses for services rendered during the period from September 01,
2010 through and including September 30, 2010.

3. I have reviewed the requirements of Rule 2016-2 of the Local Rules of

Bankruptcy Practice and Procedures of the United States Bankruptcy Court for the

' ‘The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ tax identification number, are: Nortel
Networks Inc. (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems, Inc, (9769); Nortel Altsystems
International, Inc. (5396); Xros, Inc. (4181); Sonoma Systems (2073); era Corporation (0251); Coretek, Inc, (5722); Nortel
Networks Applications Management Solutions, Inc. (2846); Nortel Networks Optical Components, Inc. (3545); Nortel Networks
HPOCS Ine. (3546); Architel Systems (U.S.) Corporation (3826); Nortel Networks International Inc. (0358); Northern Telecom
International Inc, (6286); Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).

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District of Delaware and submit that the Application substantially complies with such
rule.

4, All services for which compensation is requested by Ashurst were professional
services performed for and on behalf of the Committee and not on behalf of any other
person.

5. { have reviewed the foregoing Application and the facts set forth therein are true
and correct to the best of my knowledge, information and belief.

6. In accordance with Title 18 U.S.C. § 155, neither I nor any member or associate
of my firm has entered into any agreement, express or implied, with any other party in
interest for the purpose of fixing the amount of any of the fees or other compensation to
be allowed out of or paid from the Debtors’ estates.

7. ~ Jn accordance with section 504 of chapter 11 of title 11 of the United States
Code (the "Bankruptcy Code"), no agreement or understanding exists between me, my
firm, or any member or associated thereof, on the one hand, and any other person, on the
other hand, for division of such compensation as my firm may receive for services
rendered in comection with these cases, nor will any division of fees prohibited by

section 504 of the Bankruptcy Code be made by me or any partner or associate of my
firm,

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GILES BOOTHMAN

Dated: London, United Kingdom
October 29, 2010

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